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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


COIN CENTER, ET AL
                                            USDC NO. 3:22-cv-20375-TKW-ZCB
                  vs


JANET YELLEN, ET AL

                   TRANSMITTAL OF NOTICE OF APPEAL

     The following documents are hereby transmitted to the Clerk, U. S.
Court of Appeals. A copy of the appeal notice, docket entries, and Order
appealed from is enclosed.


First Appeal Notice:             YES
Judge Appealed From:             T KENT WETHERELL
Appellate Docket Fee:            YES
Court Reporters:                 NO
Other

Please acknowledge receipt on the enclosed copy of this transmittal to: PENSACOLA DIVISION

                                                JESSICA J. LYUBLANOVITS,
                                                CLERK OF COURT

                                                By: Monica Broussard
                                                Deputy Clerk: Monica Broussard
                                                1 North Palafox Street
November 7, 2023                                Pensacola, Florida 32502-5658
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